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SETTLEMENT AGREEMENT AND MUTUAL RELEASE ()F ALL CLAIMS

This Settlement Agreement and Mutual Release of All Claims (“Agreement”) is made by
and between Plaintiffs Laura C. Moore (“Moore,” a “Plaintiff”) and Melanie L. Arnold
(“Arnold,” a “Plaintiff”) (collectively “Plaintiffs”)7 and Defendants Allen & Bright, P.C. (the
“Company,” a “Defendant”) and Lisa E. Allen (“Allen,” a “Defendant”) (collectively
“Defendants”). Plaintiffs and Defendants shall be referred to collectively herein as the “Parties”
and individually as a “Party.”

RECITALS

WHEREAS, Plaintiffs filed a civil action against Defendants in a case styled Laura C.
Moore and Melanie L. Amofd v. Allen & Bright, P.C. and Lz'sa E. Alien, l:ll-CV-04296~MHS
(“Lawsuit”), which is pending in the United States District Court for the Northern District of

Georgia,

WHEREAS, Defendants deny any violations of law and deny any liability to Plaintiffs,
but wish to avoid further legal fees and expenses of litigation, and

Wl-IEREAS, the parties hereto Wish to resolve all of their disputes and settle these
matters in a manner that will avoid the need for further litigation,

NOW THEREFORE, in consideration of material covenants and promises contained
herein1 the parties agree as follows:

1. Consideration. Defendants agree to make the following payments and provide
the following consideration to Plaintiffs:

a. Payments to Moore: Defendants agree to pay the total sum of Twelve
Thousand Seven Hundred Fifty Dollars ($12,750.00) to Moore, exclusive of attorney’s fees and
costs, Within seven (7) days of the Court’s order approving settlement This $12,750.00
settlement amount will be paid by separate checks and apportioned as follows:

(a) $3,169.97 for FLSA overtime Wages to be reported as a W-Z payment;

(b) $3,]69.97 for FLSA liquidated damages to be reported in Box #3 on IRS Form 1099-
MISC;

(c) $6,410.06 for settlement of Moore’s disputed claim for retaliation damages to be
reported in box #3 on IRS Form lOQQ-MISC;

b. Payments to Arnold: Defendants agree to pay the total sum of Eleven
Thousand Dollars ($11,00().00) to Arnold, exclusive of attorney’s fees and costs, within seven
(7) days of the Court’s order approving settlement This $l 1,000.00 settlement amount will be
paid by separate checks and apportioned as follows:

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(a) $2,033.20 for FLSA overtime wages to be reported as a W-Z payment;

(b) $2,033.20 for FLSA liquidated damages to be reported in Box #3 on IRS Form 1099-
MISC;

(c) $6,933.60 for settlement of Arnold’s disputed claim for retaliation damages to be
reported in box #3 on IRS Form lO99-MISC;

c. Additional Consideration to Arnold: In addition, Defendants have
negotiated for Arnold’s benefit the following debt forgiveness arrangement with Arnold’s former
family law attorney, J on P. Spetalnick and his law firm, J on P. Spetalnick, Attorney at Law, LLC
(collectively “Spetalnick”). Spetalnick agrees to accept payment from Arnold by a check from
Fried & Bonder, LLC (“Plaintiffs’ Counsel”) in the amount of Nine Thousand Dollars
($9,000.00) (the “settlement payment”), to be paid within seven (7) days after receipt of
Defendants’ payments above, as payment in full satisfaction of any and all indebtedness by
Arnold to Spetalnick. Spetalnick agrees to write off all of Arnold’s outstanding debt in excess of
(i) this $9,000.00 settlement payment and (ii) monies tendered to and received by the Registry of
the Magistrate Court as of 4:3() p.m. on April 25, 20l2. If any amount is received into the
Registry of the Magistrate Court by garnishment or otherwise between 4:30 p.m. on April 25,
2012, and the settlement payment (“amounts to be refunded”), Spetalnick agrees to refund
Arnold (care of Plaintiffs’ Counsel) dollar for dollar for such amounts to be refunded, not
including funds in the amount of 3133.85 and $467.08 which had been returned by the
Magistrate Court to Garnishee Wells Fargo to be re-submitted (which sums are nonetheless the
property of Spetalnick as “monies tendered to and received by the Registry of the Magistrate
Court as of 4:30 p.m. on April 25, 2012”), within seven (7) days of receipt of the $9,000.0()
settlement payment above for any such amounts to be refunded that were received by Spetalnick
as of the $9,000.00 settlement payment date, and within seven (7) days of receipt of any
subsequently received amounts for all other amounts to be refunded Spetalnick agrees to file
withdrawal of all Arnold garnishments (or other execution proceedings) upon receipt of the
$9,000.00 settlement payment above. Spetalnick agrees to he a signatory to this Agreement as to
his obligations under this paragraph l(c) only. Spetalnick will provide Arnold (care of Plaintiffs’
Counsel) with a signed Satisfaction of Judgrnent upon receipt of this payment; and

d. Pavments to Plaintiffs’ Counsel for Attornev’s Fees and Costs:
Defendants will pay an additional Twenty-Six Thousand Dollars ($26,000.00) to Plaintiffs’
Counsel for Plaintiffs’ fees and costs. This amount will be payable in three installments, the first
of which ($8,666.67) will be due within seven (7) days after approval of this Agreement by the
Court, the second of which ($8,666.67) will be due sixty (60) days thereafter, and the third of
which ($8,666.66) will be due within (60) days of the second payment Upon each installment,
Defendants will deliver to Plaintiffs’ Counsel a check payable to “Fried & Bonder, LLC,” to be
reported in box #l4 on IRS Form lO99-MISC.

The parties acknowledge the adequacy of consideration provided herein by each to the
other, that this is a legally binding document, and that they intend to comply with and be faithful
to its terms.

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2. Court Approval and Dismissal of Lawsuit. By executing this Agreement, the
parties agree to file this Agreement in the Lawsuit for Court approval by no later than May ll,
2012. The parties agree to file mutual dismissals with prejudice of all claims in the Lawsuit
upon settlement approval and after Defendants’ payment in full under Section l. The parties will
request that the Court administratively close this case upon settlement approval.

3. Full and Complete Mutual Release. In consideration for this Agreement,
Plaintiffs hereby settle, waive, release and discharge all claims whatsoever against Defendants
with respect to each and every claim, cause of action, right, liability or demand of any kind or
nature known and unknown at this time that Plaintiffs may have or may have had as of the date
this Agreement is duly executed which arose at any time and which may arise at any time until
this Agreement is duly executed. Such claims that are hereby released include by way of
example, but not limitation, all claims:

a. arising from Plaintiffs’ employment with the Company;

b. relating to any wages, pay, overtime, compensation, attorneys’ fees,
interest or costs, including attorneys’ fees incurred in connection with any review of this
Agreement by an attorney.

Likewise, in consideration for this Agreement, Defendants hereby settle, waive, release
and discharge all claims whatsoever against Plaintiffs with respect to each and every claim,
cause of action, right, liability or demand of any kind or nature known and unknown at this time
that Defendants may have or may have had as of the date this Agreement is duly executed which
arose at any time and which may arise at any time until this Agreement is duly executed Such
claims that are hereby released include by way of example, but not limitation, all claims:

a. arising from Plaintiffs’ employment with the Company;

b. relating to any wages, pay, overtime, compensation, attorneys’ fees,
interest or costs, including attorneys’ fees incurred in connection with any review of this
Agreement by an attorney.

4. Modification. No modification, amendments cancellation, deletion, addition,
extension or other changes in this Agreernent shall be effective for any purpose unless
specifically set forth in a written agreement signed by all parties. This Agreement constitutes a
single, integrated written agreement containing the entire understanding between the parties
regarding the subject matter hereof and supersedes and replaces any and all prior agreements and
understandings_. written or oral.

5. Non-Admission. This Agreement does not constitute an admission by any Party
to the Lawsuit that they have violated any law or statute and all parties specifically deny any
such violation occurred

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6. Mutual Non-Disparagement. Plaintiffs agree not to disparage Defendants, and
Defendants agree not to disparage Plaintiffs. In the event that a Party believes that this provision
has been violated, the Party must provide the allegedly breaching Party with ten (10) days prior
written notice of the alleged violation and opportunity to reasonably cure or refute the alleged
violation by an objective person standard prior to filing any action alleging breach of this mutual
non-disparagement provision.

7 . References And Inquiries. Defendants agree to require all Company employees
to direct any and all inquiries (employment reference checks or otherwise) exclusively to Allen.
Allen will provide only the following information: (i) “lt is company policy to provide only dates
of employment and rate of pay,” or words limited to that same material effect; (ii) “[Plaintiff’s]
dates of employment were from [start date] to [end date], and her rate of pay upon separation
from employment was $[rate of pay],” or words limited to that same material effect; and (iii) if
asked about eligibility for rehire, Defendants will respond by stating “it is company policy to
provide only dates of employment and rates of pay, and we do not respond to inquiries regarding
eligibility for rehire,” or words limited to that same material effect.

8. When Agreement Becomes Effective; Counterparts; Signatures. This
Agreement shall become effective only on approval by the Court upon its execution by the
Parties. The Parties may execute this Agreement in counterparts, and execution in counterparts
shall have the same force and effect as if the Parties had signed the same instrument Signature
of this Agreement delivered by facsimile or via emailing a .pdf scanned copy of signature shall
be deemed effective as if executed in original

9. Acknowledgrnent/Warranty. By signing this Agreernent, each Party
acknowledges and warrants that:

a. The Party has carefully read and fully understands every provision of this
Agreernent, including, without limitation, the mutual release of all claims listed in paragraph 3
above;

b. The Party has been represented by counsel at all times during the
Litigation and throughout negotiation of this settlement and had the opportunity to consult with
counsel before signing this Agreement;

c. The Party accepts this Agreement knowingly and voluntarily;

d. The Party is fully authorized to execute this Agreement and has not
assigned, transferred or pledged all or any portion of the claims hereby released; and

e. The Parties separately negotiated Plaintiffs’ damages from attorney’s fees
and costs, and did not negotiate the amount of fees and costs to be paid by Defendants under
paragraph l(d) until after the Parties settled the amount of payments and consideration to be
provided to Plaintiffs under paragraphs l(a)-(c).

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Approved as to tenn by counsel to Plaintiffs:

 

 

 

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DEFENDANTS:
Allen dr Br`tghc, P.C.
By: Lisa E. Allcn. CEO Dat`e
blast ti Allen. Individually Date

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A. Mi:A_tthur Irvin Date

 

Ruben N. Dokson Date

$PETALNICK (AS 'I`O PARAGRAPH 1{CJ ONLY):
J'en P. Spetalnick, Atlorneys atl,aw, LLC

 

By: J'on P. Spetalnick Owner Date

 

jon P. Spetalnickl Il'.dividually Date

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PAR']`IES:
PLAINT]FFS:
Laura C. Moore Date
Melanie L. Arnold Date

Approved as to form by counsel to Plaintiffs:

 

C. Andrew Head Date

DEFENDANTS;

Alle'n &' Bright, P.C.

 

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By:LisaE Allen CEO Date
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LisaE. Allen, lndividually Date

Approved as to form by counsel to Defendants:

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SPETALNICK (AS 'I`() PARAGRAPH I(C) ONLY):

lou P. Spetalnick, Attorncys at Law, LLC

 

By: Jon P. Spetalnick, Ownei' Date

 

Jon P. Spetalnick, ]udividually Date

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PARTIES:
PLAINTIFFS:
Laura C. Moore Date
Melanie L. Arnold Date

Approved as to form by counsel to Plaintiffs:

 

C. Andrew Head Date

DEFENDANTS :

Allen & Bright, P.C.

 

By: Lisa E. A[len, CEO Date

 

Lisa E. Allen, Individually Date

Approved as to form by counsel to Defendants:

 

A. McArthur Irvin Date

 

Robert N. Dokson Date

SPETALNICK (AS TO PARAGRAPH l(C) ONLY):

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